                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )      NO. 3:09-00226
                                               )      JUDGE CAMPBELL
JULIO CESAR ROJAS-LOPEZ                        )

                                        ORDER

     Pending before the Court is a Motion to Seal (Docket No. 118). The Motion is GRANTED.

     It is so ORDERED.

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                                               TODD J. CAMPBELL
                                               UNITED STATES DISTRICT JUDGE




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